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2                             UNITED STATES DISTRICT COURT

3                            EASTERN DISTRICT OF CALIFORNIA

4

5    UNITED STATES OF AMERICA,                  No.   2:15-cr-00190-GEB
6                      Plaintiff,
7          v.                                   RULING ON IN LIMINE MOTION
8    JOHN MICHAEL DICHIARA, et al,
9                      Defendants.
10

11                The United States of America (“Government”)                 filed a

12   motion     for    in   limine    rulings   on    August   18,   2017,   which   it

13   augmented        by    clarifying    certain     matters    addressed     in    an

14   opposition brief opposing part of the motion.                    The Government

15   moves for an order ruling that:

16                “the bank and title records and recorded
                  documents, including deeds of trust, [which]
17                the United States intends to introduce at
                  trial are self-authenticating under [Federal
18                Rule of Evidence (“FRE”)] 902(4) and 902(11)
                  and admissible    under the exceptions to
19                hearsay   under  FRE   803(6),    803(8),  and
                  808(15), such that the United States will not
20                need   to  call   custodians   of   record  as
                  witnesses to admit these records.”
21
     Gov’t. Mot. in Lim., 5:4-8, ECF No. 191.
22
                  Defendants John Dichiara and George Larsen oppose part
23
     of   the   motion      arguing   “the   Government    should    be   required   to
24
     produce the custodian or another qualified person to authenticate
25
     the documents they now seek to get admitted via certification.”
26
     Def.’s Opp’n, 2:1-2, ECF No. 200. The Government replies arguing:
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                   “In   its  opposition  [Dckt.   No.  200],
28                defendants John Michael DiChiara and George
                                       1
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 1                Larsen oppose only the portion of the United
                  States’s motion in limine no. 2 that seeks
 2                admission of business records that are
                  accompanied by a certificate under Federal
 3                Rule of Evidence 902(11) [Dckt. No. 191]. The
                  defendants do not address the United States’s
 4                request for admission of certified public
                  records, and the Court should therefore grant
 5                that portion of the motion as it is
                  unopposed.”
 6
     Gov’t. Reply, 1:18-22, ECF No. 212.
 7
                  It is clear that for admission, a record of a regularly
 8
     conducted business activity and a public record must be proven by
 9
     testimony of the custodian or another qualified witness or by a
10
     certification     that     complies   with      FRE   902(4)   or    902(11).
11
     Defendants    have   not   shown   that   the   records   involved    in   the
12
     Government’s motion cannot be admitted as the Government states.
13
     Therefore, the Government’s August 18, 2017 motion for in limine
14
     rulings is granted.
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     Dated:   September 7, 2017
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